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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF ARKANSAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             02/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Jonesboro Tractor Sales, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5312 Stadium Bvld                                               P.O. Box 2475
                                  Jonesboro, AR 72404                                             Jonesboro, AR 72402
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Craighead                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.jonesboro-tractor.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Jonesboro Tractor Sales, Inc.                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4442

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Jonesboro Tractor Sales, Inc.                                                             Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
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Debtor    Jonesboro Tractor Sales, Inc.                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 21, 2020
                                                  MM / DD / YYYY


                             X   /s/ Wilma Faye Grissom                                                   Wilma Faye Grissom
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President/Owner




18. Signature of attorney    X   /s/ Joel G. Hargis                                                        Date March 21, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Joel G. Hargis
                                 Printed name

                                 Caddell Reynolds Law Firm
                                 Firm name

                                 PO Box 184
                                 Fort Smith, AR 72902-0184
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     479-782-5297                  Email address      jhargis@justicetoday.com

                                 2004007 AR
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Jonesboro Tractor Sales, Inc.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                          Check if this is an
                                                ARKANSAS
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Biz Fund                                                                                                                                                                 $79,571.00
 762 N. Orange St
 Wilmington, DE
 19801
 CAN Capital                                                                                                                                                              $77,717.20
 2015 Vaughn Road
 NW
 Suite 500
 Kennesaw, GA
 30144
 Cedar Advance                                                                          Disputed                                                                          $85,757.50
 c/o Richard Muller,
 esq
 Advanced Recovery
 Group, LLC
 61-43 186th Street,
 Suite 450
 Fresh Meadows, NY
 11365
 Complete Bus.                                                   Consolidation of                                                                                       $103,868.00
 Solutions Group,                                                four (4) notes:
 Inc.                                                            Slate, Fox-Weekly,
 d/b/a Par Funding                                               Cedar- Weekly,
 2000 PGA Blvd                                                   and Secure
 Suite 4440
 North Palm Beach,
 FL 33408
 First Community                                                 Inventory - this   Disputed                        $232,287.00                        $0.00            $232,287.00
 Bank                                                            are notes take out
 1617 S Caraway                                                  by Tracy Grissom
 Jonesboro, AR                                                   and used for
 72401                                                           personal
                                                                 purchases
 First Community                                                 5306 Stadium                                       $143,850.32                        $0.00            $143,850.32
 Bank                                                            Blvd., JB
 1617 S Caraway                                                  Approxiamtely 3
 Jonesboro, AR                                                   acres
 72401

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Jonesboro Tractor Sales, Inc.                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 First Community                                                 Rental Equipment                                    $94,032.87                        $0.00              $94,032.87
 Bank
 1617 S Caraway
 Jonesboro, AR
 72401
 First Community                                                 Used equipment                                      $90,566.00                        $0.00              $90,566.00
 Bank                                                            for sale and rental
 1617 S Caraway                                                  units
 Jonesboro, AR
 72401
 First Community                                                 5312 Stadium                                        $51,833.52                        $0.00              $51,833.52
 Bank                                                            Blvd.
 1617 S Caraway                                                  Land and building
 Jonesboro, AR
 72401
 First Community                                                 Trailors (x3)                                         $2,413.14                       $0.00                $2,413.14
 Bank
 1617 S Caraway
 Jonesboro, AR
 72401
 Kabbage                                                                                                                                                                $164,188.48
 925B Peachtree
 Street NE
 Suite 1688
 Atlanta, GA 30309
 ML Factors                                                                                                                                                               $30,475.00
 456A Central Ave
 Suite 128
 Cedarhurst, NY
 11516
 Secured Funding                                                 Accounts               Disputed                     $43,718.75                        $0.00              $43,718.75
 Source                                                          Receivable
 c/o Yeshaya Gorkin,
 Esq.
 P.O. Box 605
 New York, NY 10038
 Slate Advance                                                                          Disputed                                                                          $33,361.50
 15 America Ave
 Auite 303
 Lakewood, NJ 08701




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                       Ally Financial
                       POB 380901
                       Attn: Bankruptcy Dept.
                       Minneapolis, MN 55438


                       Biz Fund
                       762 N. Orange St
                       Wilmington, DE 19801


                       CAN Capital
                       2015 Vaughn Road NW
                       Suite 500
                       Kennesaw, GA 30144


                       Cedar Advance
                       c/o Richard Muller, esq
                       Advanced Recovery Group, LLC
                       61-43 186th Street, Suite 450
                       Fresh Meadows, NY 11365


                       Complete Bus. Solutions Group, Inc.
                       d/b/a Par Funding
                       2000 PGA Blvd
                       Suite 4440
                       North Palm Beach, FL 33408


                       First Community Bank
                       1617 S Caraway
                       Jonesboro, AR 72401


                       Kabbage
                       925B Peachtree Street NE
                       Suite 1688
                       Atlanta, GA 30309


                       ML Factors
                       456A Central Ave
                       Suite 128
                       Cedarhurst, NY 11516


                       Secured Funding Source
                       c/o Yeshaya Gorkin, Esq.
                       P.O. Box 605
                       New York, NY 10038
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                   Slate Advance
                   15 America Ave
                   Auite 303
                   Lakewood, NJ 08701


                   Wilma Faye Grissom
                   6711 Southwest Drive
                   Jonesboro, AR 72404
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                                                               United States Bankruptcy Court
                                                                     Eastern District of Arkansas
 In re      Jonesboro Tractor Sales, Inc.                                                               Case No.
                                                                                  Debtor(s)             Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Jonesboro Tractor Sales, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 March 21, 2020                                                      /s/ Joel G. Hargis
 Date                                                                Joel G. Hargis
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Jonesboro Tractor Sales, Inc.
                                                                     Caddell Reynolds Law Firm
                                                                     PO Box 184
                                                                     Fort Smith, AR 72902-0184
                                                                     479-782-5297 Fax:479-782-5284
                                                                     jhargis@justicetoday.com




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